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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                   Plaintiff

                                                               DECISION and ORDER
-vs-
                                                               11-CR-6083

ROBERT W. MORAN, JR. GINA TATA, TIMOTHY
STONE, DONNA BOON, GORDON MONTGOMERY,
and JEFFREY TYLER

                           Defendants
__________________________________________

       Siragusa, J. This case was referred by order of the undersigned, docketed May 2,

2011, ECF No. 2, to Magistrate Judge Marian W. Payson, pursuant to 28 U.S.C. §

636(b)(1)(A)-(B). On June 20, 2012, Defendant Timothy Stone filed a omnibus motion

seeking various forms of relief, including a separate trial pursuant to Rules 8 and 14, ECF

No. 209. On June 22, 2012, Defendant Robert W. Moran, Jr., filed a motion for a separate

trial of Counts 3 and 4 of the superseding indictment due to misjoinder and/or for

severance pursuant to Rule 8(b), ECF No. 211. On June 22, 2012, Defendant Gina Tata

filed a second omnibus motion seeking various forms of relief, including relief from joinder

and severance under Rule 14, ECF No. 212. On September 10, 2012, Defendant Donna

Boon filed an omnibus motion seeking various forms of relief, including severance pursuant

to Rule 14, ECF No. 277, and then December 11, 2012, she filed a supplemental motion

for a separate trial on grounds of misjoinder, ECF No. 337. On November 5, 2012,

Defendant Gordon Montgomery filed a omnibus motion seeking various forms of relief,

including severance, ECF No. 312. Finally, on January 3, 2013, Defendant Jeffrey Tyler
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filed omnibus motion seeking various forms of relief, including a separate trial, ECF No.

345. On November 26, 2013, Magistrate Judge Payson                    filed a Report and

Recommendation (“R&R”),        ECF No. 441, recommending that the Court deny all

Defendants’ motions relating to misjoinder, severance, and separate trials.

       The time has passed for Defendants Gina Tata, Timothy Stone, Gordon

Montgomery, and Jeffrey Tyler to file any objections to the R&R, and none have been filed.

On December 10, 2013, Defendant Robert W. Moran, Jr., filed objections to the R&R,

maintaining that he should be tried separately from the narcotics co-defendants based

upon misjoinder and/or severance, ECF No. 444. Subsequently, on January 28, 2014,

Defendant Donna Boon filed objections to the R&R, maintaining that there is no nexus

between the narcotics counts charged in the supeseding indictment and the “violent crime

in aid of racketeering” (“VICAR”) counts, ECF No. 466.

       Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo determination

of those portions of the R&R to which objections have been made. Upon a de novo

review of the R&R, and after considering the objections of Defendants Robert W. Moran,

Jr., and Donna Boon, the Court accepts Magistrate Judge Payson’s proposed findings and

recommendations.

        Consequently, for the reasons set forth in Magistrate Judge Payson’s R&R, ECF

No. 441, the applications of Defendants Donna Boon, Gordon Montgomery, and Jeffrey

Tyler that the narcotics counts be severed from the VICAR counts are denied.1 Likewise,



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The Court notes that, while in her R & R, Magistrate Judge Payson recommended that the
applications of Boon, Montgomery and Tyler be denied, she further recommended that it
be without prejudice to renew before the trial court or before the pretrial conference.

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the Court based upon the reasons articulated by Magistrate Judge Payson denies the

applications of Defendants Robert W. Moran, Jr., Gina Tata, and Timothy Stone to sever

the VICAR counts in the superseding indictment from the narcotics counts. Finally, as to

Defendant Timothy Stone’s argument that he will be prejudiced if he is tried with the other

VICAR defendants, the Court, for the reasons set forth by Magistrate Judge Payson,

denies severance on that basis.

        IT IS SO ORDERED.

Dated: Rochester, New York
       February 13, 2015

                            ENTER:

                                          /s/ Charles J. Siragusa
                                          CHARLES J. SIRAGUSA
                                          United States District Judge




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